914 F.2d 247Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marcus DOTSON, Petitioner,v.DIRECTOR, OFFICE OF WORKERS COMPENSATION PROGRAMS, UnitedStates Department of Labor, Respondent.
    No. 89-2209.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1990.Decided Sept. 21, 1990.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-293-BLA).
      Marcus Dotson, petitioner pro se.
      Sylvia Theresa Kaser, United States Department of Labor, Washington, D.C., for respondent.
      Ben. Rev. Bd.
      AFFIRMED.
      Before SPROUSE, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Marcus Dotson petitions for review of the decision and order of the Benefits Review Board (BRB) affirming the administrative law judge's (ALJ) denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.
    
    
      2
      On petition for a review from a decision of the BRB, this Court reviews only for errors of law, including whether the Board properly applied the substantial evidence test of 33 U.S.C. Sec. 921(b)(3) in reviewing the administrative law judge's findings of fact.   See Amigo Smokeless Coal Co. v. Director, Office of Workers' Compensation Programs, 642 F.2d 68, 69 (4th Cir.1981).  To determine whether the Board has properly adhered to its scope of review, this Court must make an independent review of the record and decide whether the ALJ's findings are supported by substantial evidence.   Sun Shipbuilding &amp; Dry Dock Co. v. McCabe, 593 F.2d 234, 237 (3d Cir.1979), cited in Amigo, 642 F.2d at 69;  cf. Crum v. General Adjustment Bureau, 738 F.2d 474, 477 (D.C.Cir.1984).
    
    
      3
      The Court has conducted an independent review of the record and concludes that the ALJ's finding that petitioner was not totally disabled by pneumoconiosis is supported by substantial evidence;  the Court further finds that the administrative law judge's decision and order denying petitioner's application for benefits is in accordance with law.  Thus, we affirm the BRB's decision and order affirming the administrative law judge's decision.
    
    
      4
      We also find that the facts and legal arguments are adequately presented in the briefs and record and that the decisional process would not be aided by oral argument;  consequently, we dispense with oral argument.  See Fed.R.App.P. 34(a) and Loc.R. 34(a).
    
    AFFIRMED
    